                                COURT OF APPEALS FOR THE
                           FIRST DISTRICT OF TEXAS AT HOUSTON

                                             ORDER

Appellate case name:      Jeffrey Mendez v. The State of Texas

Appellate case number:    01-18-00067-CR

Trial court case number: D-1-DC-15-301608

Trial court:              of Travis County

       Appellant’s court-appointed counsel filed a brief concluding that the above-
referenced appeal is frivolous. See Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396,
1400 (1967). Appellant, acting pro se, has filed a motion requesting access to a copy of the
appellate record for use in preparing a response to appointed counsel’s brief. See Kelly v.
State, 436 S.W.3d 313, 315, 318–20 (Tex. Crim. App. 2014). Appellant also requests an
extension of time to file his pro se response to counsel’s Anders brief.
       We grant the motion and order the trial court clerk, no later than 10 days from the
date of this order, to provide a copy of the record, including the clerk’s record, the
reporter’s record, and any supplemental records, to the appellant. The trial court clerk shall
further certify to this Court, within 15 days of the date of this order, the date upon which
delivery of the record to the appellant is made.
      Appellant’s pro se response to appointed counsel’s brief shall be filed within 45
days of the date of this order.
       It is so ORDERED.

Judge’s signature: /s/ Jane Bland
                   Acting individually


Date: August 14, 2018
